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SELTZER CAPLAN MCMAHON VITEK




                                                                 individually and as the Trustee of the CAVADIAS
                         SAN DIEGO, CALIFORNIA 92101-8177




                                                            13   FAMILY 2003 TRUST; VICKY ROSENBERG; and
                              750 B STREET, SUITE 2100




                                                                 VEY’S, POWERSPORTS, Inc.
                                                            14
                                                                                     UNITED STATES BANKRUPTCY COURT
                                                            15                       SOUTHERN DISTRICT OF CALIFORNIA
                                                            16    In Re:                                    BK CASE NO. 22-00294-CL7
                                                            17        VEY’S BANDIT, LLC,                    Chapter 7
                                                            18                      Debtor.                 ADV. CASE NO. 23-90001-CL
                                                            19   CHRISTOPHER R. BARCLAY,
                                                                 chapter 7 trustee,                         DEFEDANTS’ OBJECTIONS TO
                                                            20                                              DECLARATION OF CHRISTOPHER
                                                                                    Plaintiff,              R. BARCLAY
                                                            21
                                                                 v.                                         JUDGE: Hon. Christopher B. Latham
                                                            22                                              DATE: 7/3/2024
                                                                 STEPHEN CAVADIAS, an individual            TIME: 2:00 p.m.
                                                            23   and as the Trustee of THE CAVADIAS         DEPT.: 1 – Room 218
                                                                 FAMILY 2003 TRUST; ROBERT
                                                            24   ROSENBERG, an individual; VICKY
                                                                 ROSENBERG, an individual; VEY'S
                                                            25   POWERSPORTS, INC., a California
                                                                 corporation, and DOES 1 through 50,
                                                            26   inclusive,
                                                            27
                                                                                    Defendant.
                                                            28

                                                                                                             1
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                                                             1         Defendants Robert Rosenberg, Stephen Cavadias, individually and as the Trustee
                                                             2   of the Cavadias Family 2003 Trust; Vicky Rosenberg; And Vey’s Powersports, Inc.
                                                             3   (“Defendants”) submit the following objections to the Declaration of Christopher Barclay
                                                             4   (“Barclay”) filed in opposition to Defendants’ Motion for Partial Summary Judgment.
                                                             5

                                                             6      DECLARATION                         OBJECTION
                                                             7
                                                                       1. Barclay Decl., ¶ 7:           NO FOUNDATION
                                                             8                                          (Fed. R. Evid. 901)
                                                                    The facts stated in the             LACK OF PERSONAL KNOWLEDGE
                                                             9
                                                                    Opposition are true and correct     (Fed. R. Evid. 602)
                                                            10      to the best of my knowledge.”       HEARSAY
                                                            11                                          (Fed. R. Evid. 810)

                                                            12                                          IMPROPER OPINION TESTIMONY
SELTZER CAPLAN MCMAHON VITEK




                                                                                                        (Declarant not designated as expert)
                         SAN DIEGO, CALIFORNIA 92101-8177




                                                            13
                                                                                                        The Trustee purports to testify as to every fact
                              750 B STREET, SUITE 2100




                                                            14                                          stated in the opposition. He provides no
                                                                                                        evidence that he has personal knowledge of
                                                            15                                          the events that stated in the argument
                                                                                                        presented in the Trustee’s Memorandum of
                                                            16                                          Points and Authorities. Indeed, he limits his
                                                                                                        statement by adding “to the best of my
                                                            17                                          knowledge.” Some of the argument refers to
                                                                                                        statements by third parties to have not
                                                            18                                          submitted declarations, and the Trustee’s
                                                                                                        statement that those statements are true are
                                                            19                                          inadmissible hearsay.

                                                            20                                          The Trustee was not designated as an expert
                                                                                                        witness on any topic other than in rebuttal to
                                                            21                                          defendant’s expert on the issue of whether
                                                                                                        any transfers were made in the ordinary
                                                            22                                          course of business. His opinions and
                                                                                                        conclusions are inadmissible opinion and
                                                            23                                          argument..

                                                            24

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                                                             1         2. Barclay Decl., ¶ 8:            NO FOUNDATION
                                                                                                         (Fed. R. Evid. 901)
                                                             2
                                                                    Vey’s Powersports is 100%            LACK OF PERSONAL KNOWLEDGE
                                                             3      owned by Defendants Stephen          (Fed. R. Evid. 602)
                                                             4      Cavadias and his daughter,           HEARSAY
                                                                    Vicky Rosenberg.                     (Fed. R. Evid. 810)
                                                             5
                                                                                                         The Trustee has no personal knowledge as to
                                                             6                                           the ownership of Vey’s Powersports, Inc.
                                                                                                         This information is not contained in public
                                                             7                                           records, and is not a fact on which the Court
                                                                                                         may take judicial notice.
                                                             8         3. Barclay Decl., ¶ 9:            NO FOUNDATION
                                                                                                         (Fed. R. Evid. 901)
                                                             9
                                                                    Prior to bankruptcy, Mr.             LACK OF PERSONAL KNOWLEDGE
                                                            10      Cavadias was the Debtor’s Chief      (Fed. R. Evid. 602)
                                                            11      Financial Officer . . . and Vicky    HEARSAY
                                                                    Rosenberg was its Secretary.         (Fed. R. Evid. 810)
                                                            12
SELTZER CAPLAN MCMAHON VITEK




                                                                                                         The Trustee has no personal knowledge as to
                         SAN DIEGO, CALIFORNIA 92101-8177




                                                            13                                           whether the Debtor had any officers. No
                              750 B STREET, SUITE 2100




                                                                                                         information about officers is contained in
                                                            14                                           Debtor’s Operating Agreement or any public
                                                                                                         record. It is not a fact on which the Court
                                                            15                                           may take judicial notice.
                                                            16         4. Barclay Decl., ¶ 11:           NO FOUNDATION
                                                                                                         (Fed. R. Evid. 901)
                                                            17
                                                                    Based on my discussions with         LACK OF PERSONAL KNOWLEDGE
                                                            18      Mr. Wahlster and others, the         (Fed. R. Evid. 602)
                                                            19      bikebandit.com business was          HEARSAY
                                                                    founded in 1999. Over the next       (Fed. R. Evid. 810)
                                                            20      10 to 15 years, bikebandit.com
                                                                    became a successful and well-        IMPROPER OPINION TESTIMONY
                                                            21                                           (Declarant not designated as expert)
                                                                    regarded online retail business
                                                            22      selling primarily motorcycle         The Trustee provides no evidence that he has
                                                                    parts and accessories for street     personal knowledge of the events that
                                                            23                                           occurred pre-petition, and states that the
                                                                    motorcycles, cruisers, Ats, and      conclusion is based on “information and
                                                            24      snowmobiles.                         belief.”
                                                            25                                           The statements made by Mr. Wahlster and
                                                                                                         other unidentified persons is hearsay.
                                                            26
                                                                                                         The Trustee was not designated as an expert
                                                            27                                           witness on any topic other than in rebuttal to
                                                                                                         defendant’s expert on the issue of whether
                                                            28                                           any transfers were made in the ordinary
                                                                                                              3
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                                                             1                                          course of business, and his conclusions as to a
                                                                                                        website created over 20 years before the
                                                             2                                          filing of the petition is hearsay and
                                                                                                        inadmissible opinion and argument
                                                             3

                                                             4

                                                             5

                                                             6

                                                             7
                                                                        5. Barclay Decl., ¶ 18:         NO FOUNDATION
                                                             8                                          (Fed. R. Evid. 901)
                                                             9      I am informed and believe that      LACK OF PERSONAL KNOWLEDGE
                                                                    the Debtor was unable to take       (Fed. R. Evid. 602)
                                                            10      advantage of this short-term        HEARSAY
                                                            11      uptick in business.                 (Fed. R. Evid. 810)
                                                            12                                          IMPROPER OPINION TESTIMONY
SELTZER CAPLAN MCMAHON VITEK




                                                                                                        (Declarant not designated as expert)
                         SAN DIEGO, CALIFORNIA 92101-8177




                                                            13
                              750 B STREET, SUITE 2100




                                                                                                        The Trustee provides no evidence that he has
                                                            14                                          personal knowledge of the events that
                                                                                                        occurred pre-petition, and states that the
                                                            15                                          conclusion is based on “information and
                                                                                                        belief.”
                                                            16
                                                                                                        The Trustee was not designated as an expert
                                                            17                                          witness on any topic other than in rebuttal to
                                                                                                        defendant’s expert on the issue of whether
                                                            18                                          any transfers were made in the ordinary
                                                                                                        course of business, and his conclusions
                                                            19                                          whether the debtor was “able to take
                                                                                                        advantage” is hearsay and inadmissible
                                                            20                                          opinion and argument..
                                                            21
                                                                        6. . Barclay Decl., ¶ 18:       NO FOUNDATION
                                                            22                                          (Fed. R. Evid. 901)
                                                            23      In fact, the Debtor’s records       LACK OF PERSONAL KNOWLEDGE
                                                                    reflect that the significant        (Fed. R. Evid. 602)
                                                            24      increase in orders caused           HEARSAY
                                                            25      substantial problems.               (Fed. R. Evid. 810)
                                                            26                                          IMPROPER OPINION TESTIMONY
                                                                                                        (Declarant not designated as expert)
                                                            27      .
                                                                                                        The Trustee provides no evidence that he has
                                                            28                                          personal knowledge of the events that
                                                                                                        occurred pre-petition, and states that the
                                                                                                             4
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                                                             1                                            conclusion is based on “information and
                                                                                                          belief.”
                                                             2
                                                                                                          The Trustee’s conclusions as to what the
                                                             3                                            records “reflect” is hearsay and inadmissible
                                                                                                          opinion. He identifies no such records.
                                                             4
                                                                                                          The Trustee was not designated as an expert
                                                             5                                            witness on any topic other than in rebuttal to
                                                                                                          defendant’s expert on the issue of whether
                                                             6                                            any transfers were made in the ordinary
                                                                                                          course of business. His opinions and
                                                             7                                            conclusions whether or not an increase in
                                                                                                          orders “ caused substantial problems” is
                                                             8                                            hearsay and inadmissible opinion and
                                                                                                          argument..
                                                             9         7. Barclay Decl., ¶ 18:            NO FOUNDATION
                                                                                                          (Fed. R. Evid. 901)
                                                            10
                                                                    Among other things, the Debtor        LACK OF PERSONAL KNOWLEDGE
                                                            11      accepted many more orders than        (Fed. R. Evid. 602)
                                                            12      it could realistically fulfill in a   HEARSAY
SELTZER CAPLAN MCMAHON VITEK




                                                                    timely manner, leaving                (Fed. R. Evid. 810)
                         SAN DIEGO, CALIFORNIA 92101-8177




                                                            13      customers frustrated when their
                              750 B STREET, SUITE 2100




                                                                    orders were not fulfilled.            IMPROPER OPINION TESTIMONY
                                                            14                                            (Declarant not designated as expert)
                                                            15                                            The Trustee provides no evidence that he has
                                                                                                          personal knowledge of the events that
                                                            16                                            occurred pre-petition, and states that the
                                                                                                          conclusion is based on “information and
                                                            17                                            belief.”
                                                            18                                            Assuming the Trustee is purporting to render
                                                                                                          opinions and conclusions as to what the
                                                            19                                            records “reflect,” the statement is hearsay and
                                                                                                          inadmissible opinion. He identifies no such
                                                            20                                            records.
                                                            21                                            The Trustee was not designated as an expert
                                                                                                          witness on any topic other than in rebuttal to
                                                            22                                            defendant’s expert on the issue of whether
                                                                                                          any transfers were made in the ordinary
                                                            23                                            course of business. His opinions and
                                                                                                          conclusions whether or not the Debtor
                                                            24                                            accepted more orders than it could
                                                                                                          “realistically fulfil or whether any customers
                                                            25                                            were “frustrated” is hearsay and inadmissible
                                                                                                          opinion.
                                                            26
                                                                       8. Barclay Decl., ¶ 20:            NO FOUNDATION
                                                            27                                            (Fed. R. Evid. 901)
                                                            28                                            LACK OF PERSONAL KNOWLEDGE
                                                                                                               5
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                                                             1      A true and accurate copy of the     (Fed. R. Evid. 602)
                                                             2      Letter of Intent (the "LOI")        HEARSAY
                                                                    between the Debtor and              (Fed. R. Evid. 810)
                                                             3      Powersports Plus dated
                                                                    December 11, 2020 (and              PROBATIVE VALUE IS
                                                             4                                          SUBSTANTIALLY OUTWEIGHE BY
                                                                    countersigned by Robert             DANGER OF UNFAIR PREJUDICE
                                                             5      Rosenberg on December 16,           (Fed. R. Evid. 403)
                                                             6      2020) is attached to this           RELEVANCE
                                                                    Declaration as Exhibit D.           (Fed. R. Evid. 401)
                                                             7
                                                                                                        Defendants object to the Trustee’s
                                                             8                                          introduction of the LOI to prove value. The
                                                                                                        Trustee provides no evidence that he has
                                                             9                                          personal knowledge as to the value of the
                                                                                                        inventory or the goodwill.
                                                            10
                                                                                                        The LOI exhibit is an out of court statement
                                                            11                                          offered for the truth of the matter asserted,
                                                                                                        and the Trustee makes no showing of an
                                                            12                                          allowable exception to the rule against
SELTZER CAPLAN MCMAHON VITEK




                                                                                                        hearsay. The LOI is not a party admission as
                         SAN DIEGO, CALIFORNIA 92101-8177




                                                            13                                          to value. Rather, it represents that, at
                              750 B STREET, SUITE 2100




                                                                                                        most, the parties were negotiating a potential
                                                            14                                          purchase of Debtor’s assets. The probative
                                                                                                        value of this evidence is substantially
                                                            15                                          outweighed by the danger of unfair prejudice
                                                                                                        in that a LOI is inadmissible and is irrelevant
                                                            16                                          as to the value of the business assets at the
                                                                                                        time. See Rennick     v. O.P.T.I.O.N. Care, Inc.
                                                            17                                          77 F3d 309 (9th Cir. 1996).
                                                            18                                          The LOI is irrelevant to the discussion of
                                                                                                        value, and the Trustee may not introduce the
                                                            19                                          LOI for this purpose.
                                                            20         9. Barclay Decl., ¶ 24:          NO FOUNDATION
                                                                                                        (Fed. R. Evid. 901)
                                                            21
                                                                    At about the same time, due to      LACK OF PERSONAL KNOWLEDGE
                                                            22      supply change issues related to     (Fed. R. Evid. 602)
                                                            23      the COVID-19 pandemic and           HEARSAY
                                                                    general mismanagement, the          (Fed. R. Evid. 810)
                                                            24      Debtor accepted many orders it
                                                                    could not fulfill in a timely       IMPROPER OPINION TESTIMONY
                                                            25                                          (Declarant not designated as expert)
                                                                    manner.
                                                            26                                          The Trustee provides no evidence that he has
                                                                                                        personal knowledge of the events that
                                                            27                                          occurred pre-petition, and states that the
                                                                                                        conclusion is based on “information and
                                                            28                                          belief.”
                                                                                                             6
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                                                             1
                                                                                                        Assuming the Trustee is purporting to render
                                                             2                                          opinions and conclusions as to what the
                                                                                                        records “reflect,” the statement is hearsay and
                                                             3                                          inadmissible opinion. He identifies no such
                                                                                                        records.
                                                             4
                                                                                                        The Trustee was not designated as an expert
                                                             5                                          witness on any topic other than in rebuttal to
                                                                                                        defendant’s expert on the issue of whether
                                                             6                                          any transfers were made in the ordinary
                                                                                                        course of business. His opinions and
                                                             7                                          conclusions whether or not there was any
                                                                                                        “general mismanagement” or whether the
                                                             8                                          Debtor “accepted orders it could not fulfil in a
                                                                                                        timely manner” is hearsay and inadmissible
                                                             9                                          opinion.
                                                            10         10.Barclay Decl., ¶ 25:          NO FOUNDATION
                                                                                                        (Fed. R. Evid. 901)
                                                            11
                                                                    To supplement its cash flow, the    LACK OF PERSONAL KNOWLEDGE
                                                            12      Debtor’s management decided to      (Fed. R. Evid. 602)
SELTZER CAPLAN MCMAHON VITEK
                         SAN DIEGO, CALIFORNIA 92101-8177




                                                            13      delay refunding consumer            HEARSAY
                              750 B STREET, SUITE 2100




                                                                    charges on unfulfilled orders . .   (Fed. R. Evid. 810)
                                                            14      ..
                                                                                                        IMPROPER OPINION TESTIMONY
                                                            15                                          (Declarant not designated as expert)
                                                            16                                          The Trustee provides no evidence that he has
                                                                                                        personal knowledge of the events that
                                                            17                                          occurred pre-petition, and states that the
                                                                                                        conclusion is based on “information and
                                                            18                                          belief.”
                                                            19                                          Assuming the Trustee is purporting to render
                                                                                                        opinions and conclusions as to what the
                                                            20                                          records “reflect,” the statement is hearsay and
                                                                                                        inadmissible opinion. He identifies no such
                                                            21                                          records.
                                                            22                                          The Trustee was not designated as an expert
                                                                                                        witness on any topic other than in rebuttal to
                                                            23                                          defendant’s expert on the issue of whether
                                                                                                        any transfers were made in the ordinary
                                                            24                                          course of business. His opinions and
                                                                                                        conclusions whether or not there was any
                                                            25                                          “delay in refunding consumer charges” is
                                                                                                        hearsay and inadmissible opinion. Defendants
                                                            26                                          agree that the evidence is undisputed that all
                                                                                                        payments made by consumers for orders
                                                            27                                          placed with the debtor were used to pay the
                                                                                                        Debtor’s operating expenses, and do not
                                                            28                                          object to the declaration statement that
                                                                                                             7
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                                                             1                                            payments made by customers at the time they
                                                                                                          placed orders were used by the Debtor to pay
                                                             2                                            ordinary operating expenses.
                                                             3         11.Barclay Decl., ¶ 26:            NO FOUNDATION
                                                                                                          (Fed. R. Evid. 901)
                                                             4
                                                                    In total, the Debtor                  LACK OF PERSONAL KNOWLEDGE
                                                             5      misappropriated approximately         (Fed. R. Evid. 602)
                                                             6      $646,000.00 from                      HEARSAY
                                                                    3,400 credit card purchasers.         (Fed. R. Evid. 810)
                                                             7      These consumers placed orders
                                                                    with the Debtor, had their credit     IMPROPER OPINION TESTIMONY
                                                             8                                            (Declarant not designated as expert)
                                                                    cards charged, and never
                                                             9      received delivery of their order.     The Trustee provides no evidence that he has
                                                                    According to the Debtor’s             personal knowledge of the events that
                                                            10                                            occurred pre-petition, and states that the
                                                                    accounting records, the Debtor        conclusion is based on “information and
                                                            11      also collected and retained sales     belief.”
                                                            12      taxes for these phantom sales.        The Trustee argues, without any evidentiary
SELTZER CAPLAN MCMAHON VITEK




                                                                                                          support that the Debtor “misappropriated”
                         SAN DIEGO, CALIFORNIA 92101-8177




                                                            13                                            funds. In fact, the Trustee knows that all
                              750 B STREET, SUITE 2100




                                                                                                          funds paid by customers at the time they
                                                            14                                            placed an order with the debtor were used by
                                                                                                          the debtor “to pay the debtor’s operating
                                                            15                                            expenses.” Barclay Declaration, paragraph
                                                                                                          18.
                                                            16
                                                                                                          Misappropriation is defined as "[t]he
                                                            17                                            application of “another's property or money
                                                                                                          dishonestly to one's own use. See
                                                            18                                            EMBEZZLEMENT." Black's Law
                                                                                                          Dictionary 449 (2d Pocket ed. 2001). (United
                                                            19                                            States v. Stone (9th Cir. 2006) 215 F.App'x
                                                                                                          601, 602-603.
                                                            20                                            The Trustee knows that nothing of the sort
                                                                                                          happened in this case. The Debtor was paid
                                                            21                                            for purchases at the time the order was
                                                                                                          placed, and used those funds to pay ordinary
                                                            22                                            business expenses. Defendants respectfully
                                                                                                          submit that the allegation of misappropriate
                                                            23                                            should be stricken.
                                                            24                                            Similarly, the Trustee argues, without any
                                                                                                          evidentiary support, that there were “phantom
                                                            25                                            sales.” The Trustee knows that real
                                                                                                          customers placed real orders.
                                                            26
                                                                                                          The Trustee was not designated as an expert
                                                            27                                            witness on any topic other than in rebuttal to
                                                                                                          defendant’s expert on the issue of whether
                                                            28                                            any transfers were made in the ordinary
                                                                                                               8
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                                                             1                                            course of business. His opinions and
                                                                                                          conclusions whether or not there were
                                                             2                                            “phantom sales” or that using payments by
                                                                                                          customers for ordinary business expenses
                                                             3                                            caused any damage to the Debtor is hearsay
                                                                                                          and inadmissible opinion..
                                                             4

                                                             5         12.Barclay Decl., ¶ 28             NO FOUNDATION
                                                                                                          (Fed. R. Evid. 901)
                                                             6
                                                                    In late May 2021, the Debtor          LACK OF PERSONAL KNOWLEDGE
                                                             7      engaged insolvency counsel and,       (Fed. R. Evid. 602)
                                                             8      a short time later, began             HEARSAY
                                                                    preparing to file bankruptcy.         (Fed. R. Evid. 810)
                                                             9
                                                                                                          The Trustee provides no evidence that he has
                                                            10                                            personal knowledge of the events that
                                                                                                          occurred pre-petition. To the extent his
                                                            11                                            opinion is based on a statement by someone
                                                                                                          with personal knowledge, it is hearsay as to
                                                            12                                            that person’s statement.
SELTZER CAPLAN MCMAHON VITEK
                         SAN DIEGO, CALIFORNIA 92101-8177




                                                            13      11. Barclay Decl., ¶ 28:              NO FOUNDATION
                              750 B STREET, SUITE 2100




                                                                                                          (Fed. R. Evid. 901)
                                                            14
                                                                    In Fall 2021, Mr. Rosenberg           LACK OF PERSONAL KNOWLEDGE
                                                            15      directed the Debtor to transfer a     (Fed. R. Evid. 602)
                                                            16      substantial portion of its            HEARSAY
                                                                    inventory to its parent company,      (Fed. R. Evid. 810)
                                                            17      Vey’s Powersports.
                                                                                                          The Trustee provides no evidence that he has
                                                            18                                            personal knowledge of the events that
                                                                                                          occurred pre-petition. To the extent his
                                                            19                                            opinion is based on a statement by someone
                                                                                                          with personal knowledge, it is hearsay as to
                                                            20                                            that person’s statement.
                                                            21
                                                                    12. Barclay Decl., ¶ 28               NO FOUNDATION
                                                            22                                            (Fed. R. Evid. 901)
                                                            23      Beginning in or about August          LACK OF PERSONAL KNOWLEDGE
                                                                    through approximately                 (Fed. R. Evid. 602)
                                                            24
                                                                    December 2021, the Debtor             HEARSAY
                                                            25      moved hundreds (possibly              (Fed. R. Evid. 810)
                                                                    thousands) of items of inventory
                                                            26                                            IMPROPER OPINION TESTIMONY
                                                                    from its warehouse to the Vey’s       (Declarant not designated as expert)
                                                            27      Powersports dealership.
                                                                    Estimates of the exact value of       The Trustee provides no evidence that he has
                                                            28                                            personal knowledge of the events that
                                                                    the transferred inventory vary
                                                                                                               9
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                                                             1      from the low six figures to          occurred pre-petition. To the extent his
                                                                    $565,500.00                          opinion is based on a statement by someone
                                                             2                                           with personal knowledge, it is hearsay as to
                                                                                                         that person’s statement.
                                                             3
                                                                                                         The Trustee was not designated as an expert
                                                             4                                           witness on any topic other than in rebuttal to
                                                                                                         defendant’s expert on the issue of whether
                                                             5                                           any transfers were made in the ordinary
                                                                                                         course of business. His opinions and
                                                             6                                           conclusions as to the value of the inventory at
                                                                                                         the time of any transfer is inadmissible
                                                             7                                           opinion.
                                                             8      13. Barclay Decl., ¶ 30:             NO FOUNDATION
                                                                                                         (Fed. R. Evid. 901)
                                                             9
                                                                    Mr. Isenhower’s emails attached      LACK OF PERSONAL KNOWLEDGE
                                                            10      spreadsheets listing the specific    (Fed. R. Evid. 602)
                                                                    inventory transferred from the
                                                            11      Debtor to Vey’s Powersports          HEARSAY
                                                                    and its cost value. According to     (Fed. R. Evid. 810)
                                                            12      these spreadsheets, the cost
SELTZER CAPLAN MCMAHON VITEK




                                                                    value of the transferred             IMPROPER OPINION TESTIMONY
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                                                            13      inventory was $255,889.90. I am      (Declarant not designated as expert)
                              750 B STREET, SUITE 2100




                                                                    informed and believe that the
                                                            14      fair market retail value of the      The Trustee provides no evidence that he has
                                                                    transferred inventory was            personal knowledge of the events that
                                                            15      substantially higher than the cost   occurred pre-petition. To the extent his
                                                                    value.                               opinion is based on a statement by someone
                                                            16                                           with personal knowledge, it is hearsay as to
                                                                                                         that person’s statement.
                                                            17
                                                                                                         The Trustee’s statement about what is
                                                            18                                           contained in Mr. Isenhower’s emails is
                                                                                                         hearsay.
                                                            19
                                                                                                         The Trustee was not designated as an expert
                                                            20                                           witness on any topic other than in rebuttal to
                                                                                                         defendant’s expert on the issue of whether
                                                            21                                           any transfers were made in the ordinary
                                                                                                         course of business. His opinions and
                                                            22                                           conclusions as to the value of the inventory at
                                                                                                         the time of any transfer is inadmissible
                                                            23                                           opinion.
                                                            24
                                                                    14. Barclay Decl., ¶ 32:             HEARSAY
                                                            25                                           (Fed. R. Evid. 810)
                                                            26      The Debtor’s former Warehouse        The Trustee’s statement about what someone
                                                                    Manager, Juan D. Sotelo, also        else stated is hearsay.
                                                            27      testified that substantial
                                                                    additional inventory was
                                                            28      transferred from the Debtor to
                                                                    Vey’s Powersports that was not
                                                                                                             10
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                                                             1      reflected in Mr. Isenhower’s
                                                                    emails.
                                                             2
                                                                    15. Barclay Decl., ¶ 33:             NO FOUNDATION
                                                             3                                           (Fed. R. Evid. 901)
                                                             4      Initially, the Debtor’s              LACK OF PERSONAL KNOWLEDGE
                                                                    management team informed the         (Fed. R. Evid. 602)
                                                             5      accounting department that the
                                                                    inventory transfers were being       HEARSAY
                                                             6      made to pay down the Debtor’s        (Fed. R. Evid. 810)
                                                                    intercompany debt to Vey’s
                                                             7      Powersports. Instead, the            IMPROPER OPINION TESTIMONY
                                                                    Debtor “wrote down” the              (Declarant not designated as expert)
                                                             8      amount of its inventory in its
                                                                    accounting records. The net          The Trustee provides no evidence that he has
                                                             9      effect of this inventory “write      personal knowledge of the events that
                                                                    down” was to hide the transfers      occurred pre-petition. To the extent his
                                                            10      in the Debtor’s books.               opinion is based on a statement by someone
                                                                                                         with personal knowledge, it is hearsay as to
                                                            11                                           that person’s statement.
                                                            12                                           The Trustee’s statement about what an
SELTZER CAPLAN MCMAHON VITEK




                                                                                                         unidentified person in the “management
                         SAN DIEGO, CALIFORNIA 92101-8177




                                                            13                                           team” to an unidentified person in the
                              750 B STREET, SUITE 2100




                                                                                                         “accounting team” is hearsay.
                                                            14
                                                                                                         The Trustee was not designated as an expert
                                                            15                                           witness on any topic other than in rebuttal to
                                                                                                         defendant’s expert on the issue of whether
                                                            16                                           any transfers were made in the ordinary
                                                                                                         course of business. His opinions and
                                                            17                                           conclusions as to the “net effect” of any
                                                                                                         alleged “write down” is inadmissible opinion.
                                                            18

                                                            19      16. Barclay Decl., ¶ 37:             SETTLED AND RELEASED CLAIMS
                                                            20                                           As the Court may recall, all of the Trustee’s
                                                                    The price reduction was              claims with respect to the transfer of
                                                            21      necessary because the Debtor’s       inventory were settled and released in
                                                                    landlord (Mr. Cavadias as            connection with a Settlement approved by
                                                            22                                           this court. (Docket No. 26) As a result, the
                                                                    Trustee of the Cavadias Family       statements have no relevance on the issue of
                                                            23      2003 Trust) transferred a            damages presented in this motion.
                                                            24      significant portion of the
                                                                    Debtor’s remaining inventory to
                                                            25      a painter/repairman to pay a
                                                            26      $24,300 bill owed by the
                                                                    landlord.”
                                                            27

                                                            28

                                                                                                             11
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                                                             1      17. Exhibit C                       NO FOUNDATION
                                                                                                        (Fed. R. Evid. 901)
                                                             2
                                                                                                        LACK OF PERSONAL KNOWLEDGE
                                                             3                                          (Fed. R. Evid. 602)
                                                             4                                          HEARSAY
                                                                                                        (Fed. R. Evid. 810)
                                                             5
                                                                                                        PROBATIVE VALUE IS
                                                             6                                          SUBSTANTIALLY OUTWEIGHE BY
                                                                                                        DANGER OF UNFAIR PREJUDICE
                                                             7                                          (Fed. R. Evid. 403)
                                                             8                                          RELEVANCE
                                                                                                        (Fed. R. Evid. 401)
                                                             9
                                                                                                        Defendants object to the Trustee’s
                                                            10                                          introduction of the allocations in the APA to
                                                                                                        establish the value of the inventory or other
                                                            11                                          intangibles. The Trustee provides no evidence
                                                                                                        that he has personal knowledge as to the
                                                            12                                          value of the inventory or the goodwill.
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                                                            13                                          The allocation in the APA exhibit is an out of
                              750 B STREET, SUITE 2100




                                                                                                        court statement offered for the truth of the
                                                            14                                          matter asserted, and the Trustee makes no
                                                                                                        showing of an allowable exception to the rule
                                                            15                                          against hearsay. Further, the Trustee provides
                                                                                                        no factual support for the allocations in the
                                                            16                                          APA. [Doc. No. 44-3 at ¶ 9.] See Stillwell v.
                                                                                                        RadioShack Corp., 676 F.Supp.2d 962, 979
                                                            17                                          (S.D. Cal. 2009)
                                                            18                                          The allocation in the APA is irrelevant to the
                                                                                                        discussion of value, and the Trustee may not
                                                            19                                          introduce the allocations in the APA for this
                                                                                                        purpose.
                                                            20
                                                                    18. Exhibit D                       NO FOUNDATION
                                                            21                                          (Fed. R. Evid. 901)
                                                            22                                          LACK OF PERSONAL KNOWLEDGE
                                                                                                        (Fed. R. Evid. 602)
                                                            23
                                                                                                        HEARSAY
                                                            24                                          (Fed. R. Evid. 810)
                                                            25                                          PROBATIVE VALUE IS
                                                                                                        SUBSTANTIALLY OUTWEIGHE BY
                                                            26                                          DANGER OF UNFAIR PREJUDICE
                                                                                                        (Fed. R. Evid. 403)
                                                            27
                                                                                                        RELEVANCE
                                                            28                                          (Fed. R. Evid. 401)
                                                                                                            12
                                                                 Case 23-90001-CL   Filed 06/18/24   Entered 06/18/24 17:24:34   Doc 55    Pg. 13 of 13



                                                             1
                                                                                                        Defendants object to the Trustee’s
                                                             2                                          introduction of the LOI to prove value. The
                                                                                                        Trustee provides no evidence that he has
                                                             3                                          personal knowledge as to the value of the
                                                                                                        inventory or the goodwill.
                                                             4
                                                                                                        The LOI exhibit is an out of court statement
                                                             5                                          offered for the truth of the matter asserted,
                                                                                                        and the Trustee makes no showing of an
                                                             6                                          allowable exception to the rule against
                                                                                                        hearsay. The LOI is not a party admission as
                                                             7                                          to value. Rather, it represents that, at
                                                                                                        most, the parties were negotiating a potential
                                                             8                                          purchase of Debtor’s assets. The probative
                                                                                                        value of this evidence is substantially
                                                             9                                          outweighed by the danger of unfair prejudice
                                                                                                        in that a LOI is inadmissible and is irrelevant
                                                            10                                          as to the value of the business assets at the
                                                                                                        time. See Rennick     v. O.P.T.I.O.N. Care, Inc.
                                                            11                                          77 F3d 309 (9th Cir. 1996).
                                                            12                                          The LOI is irrelevant to the discussion of
SELTZER CAPLAN MCMAHON VITEK




                                                                                                        value, and the Trustee may not introduce the
                         SAN DIEGO, CALIFORNIA 92101-8177




                                                            13                                          LOI for this purpose.
                              750 B STREET, SUITE 2100




                                                            14

                                                            15

                                                            16
                                                                 DATED: June 18, 2024           ROBBERSON SCHROEDTER LLP
                                                            17
                                                                                                       By: /s/ Christine M. Fitzgerald
                                                            18                                         MAGGIE E. SCHROEDTER, ESQ.
                                                                                                       CHRISTINE M. FITZGERALD, ESQ.
                                                            19                                         LANE C. HILTON, ESQ.
                                                                                                       Attorneys for Defendant
                                                            20                                         Robert Rosenberg

                                                            21   DATED: June 18, 2024           SELTZER CAPLAN MCMAHON VITEK
                                                            22                                         By: /s/ Dennis J. Wickham
                                                                                                       DENNIS J. WICKHAM, ESQ.
                                                            23                                         DAKOTA HICKINGBOTTOM, ESQ.
                                                                                                       Attorneys for Defendants
                                                            24                                         STEPHEN CAVADIAS, Individually and as
                                                                                                       Trustee of the CAVADIAS FAMILY 2003
                                                            25                                         TRUST; VICKY ROSENBERG; and VEY’S
                                                                                                       POWERSPORTS, INC.
                                                            26

                                                            27

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